Use Tab key1:24-cr-00265-TNM
      Case  to move from fieldDocument
                              to field on18this form.
                                              Filed 06/24/24 Page 1 of 1
NOTICE OF APPEARANCE IN A CRIMINAL CASE



                                   CLERK’S OFFICE
                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA
                               WASHINGTON, D.C. 20001


UNITED STATES OF AMERICA


        vs.                                         Criminal Number 1:24-cr-00265-TNM


Yongchul "Charlie" Kim
            (Defendant)




TO:      ANGELA CAESAR, CLERK

YOU ARE HEREBY NOTIFIED THAT I APPEAR FOR THE DEFENDANT INDICATED
ABOVE IN THE ENTITLED ACTION.


I AM APPEARING IN THIS ACTION AS:              (Please check one)


 9       CJA                9■     RETAINED          9     FEDERAL PUBLIC DEFENDER



                                                                (Signature)



                                           PLEASE PRINT THE FOLLOWING INFORMATION:


                                          William A. Burck (979677)
                                                        (Attorney & Bar ID Number)
                                          Quinn Emanuel Urquhart & Sullivan LLP
                                                               (Firm Name)

                                          1300 I Street NW, Suite 900
                                                             (Street Address)

                                          Washingtion            D.C.            20005
                                           (City)               (State)          (Zip)

                                          202-538-8000
                                                           (Telephone Number)
